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                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF NEW YORK

 DISH NETWORK L.L.C.
 and NAGRASTAR LLC,                                  Case No.   5:19-CV-1310 (MAD/ATB)
                                                                ----------

        Plaintiffs,

        V.

 DEBRA HENDERSON, JOHN
 HENDERSON, and BOOM MEDIA LLC,

        Defendants.


                                 PLAINTIFFS' COMPLAINT

       Plaintiffs DISH Network L.L.C. ("DISH") and NagraStar LLC ("NagraStar") (collectively

"Plaintiffs") file this case against Defendants Debra Henderson, John Henderson, and Boom Media

LLC ("Defendants") for violations of the Federal Communications Act ("FCA"), 47 U.S.C. § 605.

                                 NATURE OF THE ACTION

       1.      DISH is the fourth largest pay-television provider in the United States and delivers

programming to millions of subscribers nationwide using its direct broadcast satellite system and

security technology provided by NagraStar. Defendants are involved in operating illicit streaming

services that capture DISH's satellite communications of television programming and rebroadcast

that DISH programming, without authorization, to customers that purchased the equipment needed

to access these services from Defendants (the "Rebroadcasting Scheme").

                                           PARTIES

       2.     Plaintiff DISH Network L.L.C. is a Colorado limited liability company having its

principal place of business located at 9601 South Meridian Blvd., Englewood, Colorado 80112.

       3.     PlaintiffNagraStar LLC is a Colorado limited liability company having its principal

place of business located at 90 Inverness Circle East, Englewood, Colorado 80112.
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        4.      Defendant Debra Henderson is an individual residing in Watertown, New York.

        5.      Defendant John Henderson is an individual residing in Archdale, North Carolina.

Defendant John Henderson is the son of Defendant Debra Henderson.

        6.      Defendant Boom Media LLC is a North Carolina limited liability company having

its principal office located at the home of Defendant John Henderson. Defendant John Henderson

formed Defendant Boom Media LLC and is identified as the sole member of the company.

        7.      Defendant Boom Media LLC is properly treated as the alter ego of Defendant John

Henderson because, on information and belief, the entity (a) was formed for purposes of carrying

out the Rebroadcasting Scheme and engages in no other business; (b) has no owners or employees

other than Defendant John Henderson; (c) operates from Defendant John Henderson's home; (d)

fails to observe corporate formalities, such as being currently delinquent in filing its annual report;

(e) is undercapitalized for purposes of its liabilities, including the damages owed to Plaintiffs; (f)

commingles its assets with those of Defendant John Henderson and allows its assets to be used for

his personal purposes; and (g) holds assets that equity requires be used to satisfy a judgment.

                                  JURISDICTION AND VENUE

        8.      The Court has subject matter jurisdiction under 28 U.S.C. § 1331 because Plaintiffs

assert claims for violations of 47 U.S.C. § 605.

        9.      The Court has personal jurisdiction because Defendant Debra Henderson resides in

New York and all the Defendants, through the Rebroadcasting Scheme, purposefully directed their

conduct toward and purposefully availed themselves of the privilege of conducting business within

New York, causing injury to Plaintiffs in New York.

        10.     The Court is a proper venue under 28 U.S.C. § 1391 because a substantial part of

the events giving rise to Plaintiffs' claims occurred in this judicial district.


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                  DISH'S SATELLITE TELEVISION PROGRAMMING

       11.     DISH uses satellites to broadcast television programming to millions of subscribers

across the United States. DISH contracts for and purchases the right to broadcast the programming

aired on its platform from networks, motion picture distributors, pay and specialty broadcasters,

sports leagues, and other rights holders. DISH's subscribers have access to hundreds of channels,

including movies, sports programs, and general entertainment services ("DISH Programming").

       12.      NagraStar provides conditional access security technology used to authorize the

DISH subscriber's receipt of DISH Programming. DISH Programming is uplinked to satellites as

an encrypted communication, and then retransmitted from those satellites to subscribers that (1)

purchased from DISH the right to view such programming, and (2) have the equipment necessary

to receive and decrypt DISH's satellite communications, including a DISH satellite receiver and

NagraStar smart card that convert DISH's encrypted satellite communications into viewable DISH

Programming that is displayed on the attached television of the authorized DISH subscriber.

                            THE REBROADCASTING SCHEME

       13.    The Rebroadcasting Scheme is based on the unauthorized retransmission of DISH

Programming on the MFG TV, Beast TV, Nitro TV, Murica Streams, Epic IPTV, Vader Streams,

and OK2 services. Defendants Debra and John Henderson, the latter conducting business as Boom

Media LLC, participate in the Rebroadcasting Scheme by selling codes on their website located at

https://boommedia.org ("Boommedia.org"). The codes are designed and produced to enable a set-

top box or other internet-enabled device to access servers used to retransmit DISH Programming

to customers of the MFG TV, Beast TV, Nitro TV, Murica Streams, Epic IPTV, Vader Streams,

and OK2 services (the "Device Codes").




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         14.            Defendants give the following overview of the streaming services accessible using

their Device Codes, excluding Vader Streams and OK2 which are no longer offered by Defendants:

                                                    Boom ffiEDIA




                        MFG TV                                    Beast TV                                         Nitro TV
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           ., Woddwidc CC)ntr.nl                         Addrct."H?G                                                   Addl'~s;H,s;
           ., Spoth, & PPV'~                         • Ent,li,-h & Lot,no Caritll'il~               "    Woddwidll- Contr;,,,I
              TV Cc.itc.hup (l..nrgcd                .. Spart,,. &. PPV·11,                         ..   S1-,._,,ts &. PPV's
              Sclcct,on)                             .. lV Cufchup                                       TV Ct.-,tc.hup {L,mavd}
              M'"1lt1ple- PJ<.1tf<Hn11. ond App:.    • tv'lult>pl,c.• Pllltfornu ond App~                Multipl,c.• Plotfornu & App~
               Rcgionol Chanoel,i.                   • Hc:-g,onol Chcinncl:.                             Rc-91onal Chonnul~
           .. Adult XXX Content {Opt,01,ol)              Wc-bplc1y<-<                                    Wr;,bplc,yct
           .. Wa-bployC!-<                               Eith4"1' u 1. ,?r t'\ 0 0 1e oct:ount or        Eithct U.,~rnome Accoun1 or
           • Ability to odd 1 MAC Add,·O?~r.             f'-.1AC c,c.\".ount • Not 8olh                  MAC: O,ily Accour'lt .. N,,t Both
              t<.1 Usw,ru.:,nu.• Accour1t                Hui; Adult Cont,!nt                             No A,.h,lt ConJl.'nt
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           • '2.4l1 Chonn4'!:l1o                      .. 24/7 Chona·H~ls;                            "   '1.◄11 Channel,; nHto tv bcr<dt tv
              Vot0>d 8'1',t s.,.,..icc Juno -2019   8G-st N•- Servic.e Of '2018 8ecul fv                                Niho lV
           "'MFG TV




                    Murica Streams                               Epic IPTV                                       Vein VOD

               • Eithe-,?. or 4 Connec+ien               I Ccnnec tioo •· Device Locked             • Choose F,·om Thou~w,ds Of
                   Accounts                           " Woddwide Content                              Titles
               • HD ood SD COntent                    .. Sporb & PPV\                                 Updut•d TV Show< Doily
               • USA. Spotts, oocl Por n ONLY         • STB ErruAlot<n, Minislro, MAC                 Movie?!'. New ond Old
               • XXX Oplionol                            bo,cd App,                                   Extr~mely Rcli"oble Sc-,vcrs
               • Ability lo Add I MAC lo              • Re-gioncil ChcMncl.s.                         Request You, Fovodl~ Movie-:i.
                   lht!nlame Account                  • Aduh Cont~r:t                                 ood Shows
               11- Ragionol Cbcooets                  • Very High Up Time-                          • UFC ond WWE R•ploys
               • Sports & PPV's                       " Video On Demond                             • Moit Content in 1080p or
               • TV Coft:hup (Huge Selection}         • HD Ccoteo+ nitr-o tv buos+ tv                 720P nifro t-., bcost tv
               • Multiple Ploifo1 ms oncl App-s
               .. Ve,y High Up Time
               • 24/7 C.hcmnels



                                                      www.boommedia.org

   15.                Defendants tout the availability of sports programs, pay-per-view events, and adult

content in describing the MFG TV, Beast TV, Nitro TV, Murica Streams, and Epic IPTV services

on Boommedia.org, as shown in the screenshots above. Defendants also advertise the availability

of movie channels such as HBO and Showtime, sports networks including ESPN and Fox Sports,

in addition to UFC, WWE, and boxing pay-per-view events, as shown in the following examples:
                                                                         4
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                             HD Content
                                                                                                     Sports and PPV's
             With Nitro TV         Sfr12"c1tn   TV Channels froo,
               USA, Co.oodot UK, Lotino and mot4?-                                         Watch every game from NFL, MLB.
             Wotch Stn,oming TV Channel. L,k., HBO
                                                                                          NHL, NBA and more includ,ng PPV's
             and Showt;rnc os well os. '24/7 Chonnc-h.
                            with Nil<o IPTV
                                                                                          from UFC, WWE, Boxing and others.


               https://boommedia. org/nitro-tv                                                 https://boommedia. org/beast-tv

       16.     The DISH Programming retransmitted on the MFG TV, Beast TV, Nitro TV, Murica

Streams, Epic IPTV, Vader Streams, and OK2 services is originally received from DISH's satellite

communications without authorization from DISH. During testing, encoded messages inserted in

DISH's satellite communications were observed on multiple channels retransmitted to customers

of these services, including the Willow Cricket, A&E, Syfy, and Cooking Channel, among others,

thereby confirming this programming originated from DISH's satellite communications.




                 146   IJ;ll;.

                147    ;ews! US: ABC NEWS I HD
                148    1.,....,1   US: ADULT SWIM I SD

                149    C!3         US: AMC I HD
                150                US: AMERICAN HERO I HD

                151    A~ US: ANIMAL PLANET I HD
                152 • US: AXS TV I HD
                153     ~..        US: BABY TV I HD
                154 !.I!~~1 US: BBC AMERICA I HD

                                                  long press to show more options.   :=   To show menu options




                                     Beast TV Service Retransmitting DISH's A&E Channel

       17.      Defendants sell Device Codes at Boommedia.org for approximately $10 to $20 per

month of access ( depending on whether a customer purchased the MFG TV, Beast TV, Nitro TV,

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Murica Streams, Epic IPTV, Vader Streams, or OK2 services). Defendants also sold "loaded" or

"programmed" set-top boxes for approximately $150, which are set-top boxes pre-configured with

Device Codes.

        18.       Defendant Debra Henderson receives payments for the Device Codes and set-top

boxes purchased through Boommedia.org. Defendant John Henderson, conducting business under

the name of Boom Media LLC, distributes Device Codes and set-top boxes to those purchasers.




                                    540.00 USO




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                                                                    111~111111r 11111~11111~11111111111
                                     $41.46 USO
                                                                        ~5 !116 9956 0109 5005 09




              3 Month MFG TV Device Code                   STB With Vader Streams Device Code
On information and belief, Defendants Debra and John Henderson are together responsible for the

operation ofBoommedia.org and share in the proceeds of the Device Codes and set-top boxes sold

through the website.

        19.      On information and belief, Defendants directly engage in, aid and abet, or act within

the scope of a principal-agent relationship with persons that are capturing and retransmitting DISH

Programming provided through the Rebroadcasting Scheme. Defendants state on Boommedia.org

that"[ w]e reserve the right to control content" and"[ w ]e may add or remove channels at any time."

       20.       In a video posted to the Boom Media YouTube channel, Defendant John Henderson

informed customers that "[y]ou guys are buying pirated streams, this shit is not Hulu, it's not


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Netflix, it's pirated f**king streams .... It's no different than buying f**king knockoff shoes .

... It's black market shit .... "

                                    CLAIMS FOR RELIEF

                                         COUNT!
              Violation of the Federal Communications Act, 47 U.S.C. § 605(a)
                                By DISH Against All Defendants

       21.     DISH repeats and incorporates the allegations in paragraphs 1-20 above.

       22.     Defendants divulged, used, and assisted others to receive DISH Programming that

originated from DISH's satellite communications through the Rebroadcasting Scheme, without the

authorization of DISH and for the benefit of Defendants and their customers that were not entitled

to receive such DISH Programming, in violation of 47 U.S.C. § 605(a).

       23.     Defendants violated 47 U.S.C. § 605(a) willfully and for the purpose of commercial

advantage and private financial gain.

       24.     Defendants were aware or had reason to believe that their actions violated 47 U.S.C.

§ 605(a). Such violations damaged DISH in an amount to be proven at trial. Unless restrained

and enjoined, Defendants will continue to violate 47 U.S.C. § 605(a).

                                          COUNT II
             Violation of the Federal Communications Act, 47 U.S.C. § 605(e)(4)
                           By All Plaintiffs Against All Defendants

       25.     Plaintiffs repeat and incorporate the allegations in paragraphs 1-20 above.

       26.     Defendants sell and distribute Device Codes for purposes of divulging, using, and

assisting others to receive DISH Programming originating from DISH's satellite communications

as part of the Rebroadcasting Scheme, in violation of 47 U.S.C. § 605(e)(4). Defendants intended

for Device Codes to be used in divulging and receiving DISH Programming, without authorization




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from DISH and for the benefit of Defendants and their customers that were not entitled to receive

such DISH Programming, which is activity proscribed by 47 U.S.C. § 605(a).

         27.      Defendants violated 47 U.S.C. § 605(e)(4) willfully and for purposes of commercial

advantage and private financial gain.

         28.      Defendants were aware or had reason to believe that their actions violated 47 U.S.C.

§ 605(e)(4). Such violations damaged DISH in an amount to be proven at trial. Unless restrained

and enjoined, Defendants will continue to violate 47 U.S.C. § 605(e)(4).

                                       PRAYER FOR RELIEF

         Plaintiffs request a judgment against Defendants as follows:

         A.       For a permanent injunction under 47 U.S.C. § 605(e)(3)(B)(i) and Fed. R. Civ. P.

65 that prohibits Defendants, and any agent, servant, employee, attorney, or other person acting in

active concert or participation with any of them that receives actual notice of the order, from:

                  1.     Conducting the Rebroadcasting Scheme, or otherwise receiving or assisting

others in receiving DISH's satellite communications or the television programming that comprises

such communications without authorization from DISH;

                  2.     Selling or distributing Device Codes, or any other device or equipment that

is intended for receiving or assisting others in receiving DISH's satellite communications or the

television programming that comprises such communications without authorization from DISH;

         B.       For an order allowing Plaintiffs to take possession of and destroy all Device Codes

and any other devices or equipment within the possession, custody, or control of Defendants that

the Court has reason to believe were involved in a violation of the FCA, pursuant to 47 U.S.C. §

605( e )(3 )(B)(i);




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         C.       For an order permanently transferring each domain name that Defendants used in

connection with the Rebroadcasting Scheme to Plaintiffs;

         D.       For an order directing Defendants to preserve and tum over to Plaintiffs all hard

copy and electronic records regarding persons involved in the Rebroadcasting Scheme, including

records concerning the Device Codes that were purchased and sold;

         E.       Award DISH the greater of (I) its actual damages together with the profits made by

Defendants that are attributable to the violations identified in Count I, or (2) statutory damages in

the amount of up to $10,000 for each violation of 47 U.S.C. § 605(a), pursuant to 47 U.S.C. §

605( e)(3 )(C)(i)(I)-(11). In either scenario, damages should be increased by $100,000 per violation,

pursuant to 47 U.S.C. § 605(e)(3)(C)(ii);

         F.       Award Plaintiffs the greater of (1) their actual damages together with the profits of

Defendants that are attributable to the violations identified in Count II, or (2) statutory damages in

the amount ofup to $100,000 for each violation of 47 U.S.C. § 605(e)(4), pursuant to 47 U.S.C. §

605( e)(3 )( C)(i)(l)-(11);

         G.       Award Plaintiffs their attorneys' fees and costs under 47 U.S.C. § 605(e)(3)(B)(iii);

        H.        For a complete and accurate accounting of all profits and other benefits received by

Defendants as a result of the wrongful conduct described in this complaint;

        I.        For pre and post-judgment interest on all damages awarded by the Court, from the

earliest date permitted by law at the maximum rate permitted by law; and

        J.        For such additional relief as the Court deems just and equitable.




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Dated: OctoberJJ, 2019
                                   Respectfully submitted,

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